Case 14-60041 Document 1022 Filed in TXSB on 04/26/18 Page 1 of 6

UNITED STATES BANKRUPTCY COURT
SOUTHERN AND WESTERN DISTRICTS OF TEXAS

IN RE: §

§
Buccaneer Resources, LLC et al. § CASE NO. 14-60041
(See Note A} § Substantively Consolidatecl (See Note A )
DEBTOR § CHAPTER 11

§

CHAPTER 11 POST-CONF]RMATION REPORT
FOR THE QUARTER ENDING March 31, 2018
1. X Quarterly or Final (check one)

2. SUMMARY OF DISBURSEMENTS*:
A. Disbursements made by the Administrative Claims Disbursing Agent N/A (See Note C)

B. Disbursements made by the Liquidating Trust $ 41,808.33

Total Disbursements $ 41,808.33

*ALL DISBURSEMENTS MADE BY THE REORGANIZED DEBTOR, UNDER THE PLAN OR OTHERWISE, MUS'I` BE
ACCOUNTED FOR AND REPORTED HEREIN FOR THE PURPOSE OF CALCULATING THE QUARTERLY FEES.
3. Has the order confirming plan become final? Yes No -Yes [:|No
4. Are Plan payments being made as required under the Plan? Yes No -Yes |:\No

5. If` "No", what Plan payments have not been made and why?
Please explain:

 

 

6. If` plan payments have not yet begun, when will the first plan payment be made? (Date)

7. What date did the reorganized debtor or successor of the debtor under the plan assume the business or management of the property
treated under the plan? March 13l 2015 (See Note B)

8. Please describe any factors which may materially affect your ability to obtain a final decree at this time.

 

 

9. Complete the form for Plan Disbursements attached.

 

10. CONSUMMATION OF PLAN:

 

 

 

 

A. If this is a final report, has an application for Final Decree been submitted*? INTTIALS
m Yes Date when application was submitted DATE
|:I No Date When application will be submitted UST USE ONLY

*(if' required by Local Rulc)

B. Estimated Date of Final Payment Under Plan TBD

I CERT[FY UNDER PENALTY OF PER.]URY THAT THE ABOVE INFORMATION IS TRUE AND CORRECT TO THE

 

BEST OF MY KNOWLEDGE.
SIGNED: &\/LA\.Q"-_ DATE; L\ ZLQ 16
Jeff Compton

 

as Liquidating Trustee

(See Attached Notes)

lN RE:

Case 14-60041 Document 1022 Filed in TXSB on 04/26/18 Page 2 of 6

CHAPTER 11 POST-CONF|RMAT|ON REPORT
FOR THE QUARTER ENDING March 31, 2018

Buccaneer Resources, LLC et al. CASE NO. 14~60041

DEBTOR

NOTES:

Note A: Under the P|an, the following Debtors have been substantively consolidated, including for purposes of distributions:

 

liCase No. l

14-60041
14-60042
14-60043
14-60044
14-60045
14-60046
14-60047
14-60048
14-60049

Entity l
Buccaneer Resources, LLC
Buccaneer Energy Limited
Buccaneer Energy Holdings, lnc.
Buccaneer Alaska Operations, LLC
BuccaneerAlaska, LLC
Kenai Land Ventures, LLC
Buccaneer Alaska Drilling, LLC
Buccaneer Royalties, LLC
Kenai Drilling, LLC

Note B: The Plan became effective, and the Liquidating Trust was funded |Vlarch 13, 2015.

Note C: Pursuant to Court Order entered October 18, 2016, the Disbursing Agent of the Administrative Claims account transferred the balance
remaining in the Administrative C|aims account to Porter Hedges, LP, counsel for AlX to be held in trust for the benefit of AlX, pending further
order of the Court. [See Docket 1000] A final report on behalf of the Disbursing Agent of the Administrative C|aims account Was filed in

QZ 2017.

 

Case 14-60041 Document 1022 Filed in TXSB on 04/26/18 Page 3 of 6

IN RE: BUCCANEER RESOURCES LLC et a|. CASE NO. 14-60041
PER LIQUIDATING TRUST

 

CURRENT CONFIRMATION T_O
DATE

CASH RECEIPTS AND DISBURSEMENTS

CASH-BEGINNING OF
RECEIPTS

NET PAYROLL

PAYROLL TAXES PAlD
SECUR.ED/REN'I`AL/LEASES

U'I`ILITIES

INSURANCE

lNVENTORY PURCHASES

VEHICLE EXPENSES

TRAVEL & ENTERTAINMENT

R.EP MAINTENANCE & SUPPLIES
ADMINISTRATIVE & SELLING

OTHER attach

PLAN PAYMENTS 3

TOTAL DISBURSEMENTS (this figure should equal 'I`otal disbursements,

 

of Disbursements
NET CASH FLOW
CASH-END OF
` (See Note 1 )
CASH ACCOUNT RECONCILIATION FOR ALL FUNDS ENDING MARCH 2018
Month/Y ear Month/Y ear Month/Y ear

    

01/2018 02/2018 03/2018
Liquidating Liquidating Liquidating
Trust Trust Trust
Texas Capita| Bank Texas Capital Bank Texas Capital Bank
xxxxxx6217 )<xxxxx6217 Xxxxxx6217
Bank Balance
in Transit

Checks
Balance

Cash~Per Books

Transf`ers Between Accounts
Checks/Other Disbursements
Cash~Per Books Note 1}

STATEMENT OF CASH RECEIPTS AND DISBURSEMENTS
Montlecar Month/Y ear Month/Y ear
01/2018 02/2018 03/2018
Liquidating Liquidating Liquidating
Trust Trust Trust
Texas Capital Bank Te)<as Capital Bank Texas Capital Bank
xxxxxx6217 xxxxxx6217 Xxxxxx6217

Cash
Total Transfers
Total Disbursements Tra.nsfers
Cash

 

Note 1: The Liquidating Trust also holds the following investment accounts

Market Va|ue

|nvestment Account on 3[31[2018
ML Account # XXX-XX481 $ 802,877.28 (Holds investments in a U$ Treasury Fund)
$ 802,877.28

lVlL investment account XXX-XX254 was funded with cash transfers from Texas Ca pital Bank Account xx6217. On September 23, 2016, $2,740,330.85
was transferred from |V|L investment account XXX-XX254 to ML investment account XXX-XX481.

Schedu|e of Cash Tra nsfers in/(out) of lnvestment Accounts:

01 2015 $ 9,750,000.00
Q4 2015 $ (200,000.00)
" ' ' ' QZ 2015 '$ 2,675,000.00' includes $275k directly into the investment account.
03 2016 $ (600,000.00)
Ql 2017 $ (3,020,000.00)
Q3 2017 $ (7,739,048.24)
Q4 2017 $ (100,000.00)
$ 765,951.76

Cash transferred from Texas Capital Bank account xx6217 to the investment accounts is used to purchase investments held by the Liquidating Trust and is not considered
a disbursement out of the Liquidating Trust. |n addition, after investments are purchased the funds are no longer considered cash, but Liquidating Trust owned investments.

We are reporting the cash activity, exclusive of investment earnings, in the tables abave. The amount of cash and cash equivalents totals $859,231.45.

ease 14-60041 Documem 1022'

IN RE:
Buccaneer Resources. LLC et al.

DEBTOR

Advance
AFLAC
All\/ll\/l Tech lnc.
Air America LP
USA LLC
Renta| lnc.

Alan Stein
Alaska‘s Best Water
Alaska Communications
Alaska |ndustrial
Alaska Rubber and
Alaska Waste

Sa|es & Service

Standards|
Archer LLC
Archer &
Arctic Wire and
ASRC Services
AT&T

Baker Botts LLP
Baker Botts LLP
LLC
Benefits LLC
Bernstei Scott P.
Best Western Bidarka |nn
Services Ltd
lnc.
Brice i LLC - 003
Bud Griffin Customer
CAD Control
Canaccord Genu Austra|ia Limited
Dri||i T Ltd.
Ca l Partners LLP
Clarion Events LTD
Coffman

Commercial nce & |nc

Co of Public Accounts

Com Services Ltd

ConocoPhi||i
Cool< lnlet LLC

Cook lnlet | Citizens Cou

Crowel| & l\/| LLP

Darre| J. Gardner

David Fulton

Dish Network LLC
David J.

Edison l\/chowel| &

and several co-c

Wl°O'>¢o'l¢O’?

PAYMENTS TO CREDITORS UNDER THE PLAN

BY THE LIQUIDATING TRUST

Unsecured
Unsecured
Unsecured
Unsecured
Unsecured
Unsecured
Admin
Unsecured
Unsecured
Unsecured
Unsecured
Unsecured
Unsecured
Unsecured
Unsecured
Unsecured
Unsecured
Unsecured
Unsecured
Unsecured
Admin
Unsecured
Unsecured
Unsecured
Unsecured
Unsecured
Unsecured
Unsecured
Unsecured
Unsecured
Unsecured
Unsecured
Unsecured
Unsecured
Unsecured
Unsecured
Unsecured

Unsecured
Unsecured
Unsecured
Unsecured
Unsecured
Unsecured
Unsecured
Unsecured
Unsecured
Unsecured
Unsecured

CURRENT
UAR'I`ER

Filed in TXSB on 04/26/18 Page 4 of 6

CASE NO. 14-60041 (Jointlv Administered)

CONFIRMATION
TO DATE

114.58
431.57
78 98.28
69

156.33

495.58
27.08
717.52
40.24
.61
190.06
.01
7 77
795.17
13 .01
546.57
4 64
131.52
.06
513 779.04
1 7.36
655.91
78.75
7 463.05
.91
192.88
622.14
10 97.37
116.79
4 459.34
60 .83
27 .96
697 613.39
3
4 .09
457.87
.00
4 65
10 67
525
.05
9 3.97
94 789.86
10 60
655.91
209.45
62.40
4 669.74

 

Case 14-60041 Document 1022 Filed in TXSB on 04/26/18 Page 5 of 6

 

cURRENT
QUARTER_

CONFIRMATION
TO DATE

 

   

 

        
  

 

 

 

Edward Ramirez

Unsecured

54,822.20

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

$ - $
Energy Services lnternational Unsecured $ - $ (26.04)
ERA He|icopters LLC Unsecured $ - $ 5,951.50
Fagredin, Farouk Unsecured $ - $ 11,672.99
Ferguson Enterprises, lnc. Unsecured $ - $ 1,285.78
Fire Control Systems, lnc. Unsecured $ - $ 1,365.02
Five Star Oilfie|d Services Unsecured $ - $ -
Forum US, lnc. Unsecured $ - $ 169.32
Frank's Casing Crew and Renta| Tools, lnc Unsecured $ - $ 308,415.34
‘ Gavin Wilson Admin $ - s 2,051.48
Gallegos, Dean Unsecured $ - $ 188,828.97
GE Capita| C/O Barbi l\/|ar'tin Unsecured $ - $ 7,120.18
Genera| Communications lnc Unsecured $ - S 32,810.66
GeoCenter LP Unsecured $ - $ 1,497.08
Geomap Company Unsecured $ - $ 122.19
Grainger Unsecured $ ' - $ 148.18
Graphic Works Unsecured $ - $ 78.02
Greenberg Traurig Admin $ - 5 124,500.00
Gulfstream Legal Group LLC Unsecured $ - $ 397.87
Harris County, et al - Priority Unsec. Ta)< S - $ 5,192.02
Hartman |ncome RE|T Property Ho|dings, LL Unsecured $ - $ 106,873.37
Haynes and Boone, LLP Admin $ - $ 227,775.71
Haynes & Boone LLP Unsecured $ - $ 7,429.83
Hilcorp Alaska, LLC Unsecured $ - $ 29,613.96
Hole Opener Corporation Unsecured $ - $ 3,531.96
Homer E|ectric Association Unsecured $ - $ 5,855.45
Homer Septic Services Unsecured $ - $ 832.24
Hopper Engineering Associates Unsecured $ - $ 3,026.69
lHS GLOBAl. |NC. Unsecured $ - $ 3,616.54
|liamna Air Taxi, lnc. Unsecured $ - $ 423.29
lndustrial lnstrument Services, lnc Unsecured $ - $ 884.37
|ntemal Revenue Service Unsecured $ - $ 2,710.56
lnternational Hydrocarbon Ventures LLC Unsecured $ - $ (28.68)
lames S. Watt Unsecured $ - $ 8,513.23
Jeffries Leverage Credit Products (Tsfrf Unsecured $ - $ 167,223.70
Jl\/IR Capital Advisors Unsecured $ - $ 68,415.63
Jl\/|R Worldwide Unsecured $ - $ 15,504.26
Kenai Offshore Ventures, LLC Unsecured $ - $ 4,987,559.43
Konica |Vlino|ta Business Solutions USA lnc Unsecured S - $ 329.55
Konica |Vlino|ta Premier Finance Unsecured $ - $ 393.83
Legislative Consu|tants ln Alaska Unsecured $ - $ 6,562.65
Logix Communications Unsecured S - $ 451.17
Loomis, Richard R. Unsecured $ - $ 38,483.39
|VlacGregor USA, lnc. Unsecured $ - S 248.49
|VlagTec Alaska, LLC Unsecured $ ~ $ 53,258.58
Mapmakers Alaska Unsecured $ - $ 1,837.54
l\/|aritime He|icopters, lnc. Unsecured $ - $ 4,890.82
|\/larlin Business Bank Unsecured $ - $ 8,326.92
l\/letson B|ue Water Navigation, LLC Unsecured $ - $ 4,865.81
' l\/l-l LLC ' ' " s s Unsecured ~ '$ ' - 7 $ 7 274.97

|\/|o||er, Brian Unsecured $ - $ 9,110.24
l\/Ioore & Moore Services, lnc. Unsecured $ - $ 1,804.06
l\/loore, Craig Unsecured $ - S 1,262.41
Morgan Steel lnc Unsecured $ - $ 2,266.96
National Oilwel| Varco Unsecured $ - $ 243.87
Northern Consulting Group Unsecured $ - $ 1,961.30
NOV Tuboscope Unsecured $ ~ $ 13,120.16
O‘Brien‘s Response l\/lanagement Unsecured $ - $ 551.26

 

 

Case 14-60041 Document 1022 Filed in TXSB on 04/26/18 Page 6 of 6

CURRENT CONFIRMATION
ARTER TO DATE

Odin LLC Unsecured 34 .83
Services Ltd Unsecured 216.68
Pacif`ic Pile & L.P. Unsecured 67
Pason Offshore Unsecured 69.62
Patrick O'Connor Admin 322.47
Paul LLP Unsecured 25 9.44
PCNET Comm lnc Unsecured 58,45
Peninsu|a Pum lnc. Unsecured 183.39
Petro|eum lnc. Unsecured 1 148.87
Petro|eum ui & lnc. Unsecured 3 _41
Phoenix & Personnel lnc Unsecured 7 .12
Bowes Unsecured 267.79
PJK T Unsecured 3
Pollard E-Line . Unsecured 3 4.14
Port Graham Unsecured 3
G|obal Unsecured 5 137
ProStar Services, lnc. Unsecured 75.26
Rain for Rent Alaska Unsecured 9 414.39
Ra| E. Davis . Unsecured 8 718.62
Services LLC Unsecured 14 1.82
ScoNet lnt. Unsecured 610.62
Seismic Excha lnc. Unsecured 13 470.89
Sheek Offshore Services Unsecured .13
SLP Alaska Unsecured 205.38
SolstenXP lnc. Unsecured 920.63
& Sierra Unsecured 79.46
Branch lSD 770.79
Starichkof Unsecured 390.49
State of Alaska - rtment of Environme Unsecured 9 9.16
State of Alaska - of Environmenta| C Unsecured 388.51
State of Delawa Division of 72.40
Stel|ar Oi| & Gas LLC Unsecured 5 .98
Steven l\/l. W P.C. and several Unsecured 10 .74
Resources LLC Unsecured 3 060.88
Teras Oilfield Limited Unsecured 734 6.30
Terrasond Precision Solutions Unsecured 4 709.00
T lnc. Unsecured 519.76
Tesoro Unsecured 210.94
Time Warner Cab|e Unsecured 395.32
Tota| Oflice Products Unsecured 56.04
Total US lnc. Unsecured 774.98
` United Rentals North America lnc. Unsecured .71
l u.s. oistrict Clerk Admin .00
l velocis Echo LP unsecured 194.37
Park l\/|a Unsecured 360.62
l Alaska LLC unsecured 113.75
l Warrior Limited Unsecured 4 603.39
Weatherford US LP Unsecured 4 4.33
Wex Bank Unsecured 210.94
Wi|liam Allen H ' ' ' ' Unsecured ' ' ' ' '~ ' r ~ 7 77 737.92
z Wil|is ofT lnc. Unsecured 5 75.07
LLC. Unsecured
)<To lnc. unsecured 23 460.7
l Zentech Unsecured 3

l TOTAL PLAN PAYMENTS: (report on page 2)

 

